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June 29, 2023


Loomis Sayles Trust Company, LLC v. Citigroup Global Markets Inc., No. 1:22-cv-6706-LGS


Dear Judge Schofield:

               Pursuant to the Court’s Individual Rule I.B.3, Defendant Citigroup Global
Markets Inc. (“CGMI”) writes on behalf of the parties to respectfully request a two-week
extension of time to complete expert discovery, from July 21, 2023 to August 4, 2023. This is
CGMI’s second request, and Plaintiff’s first, for an adjournment of a discovery deadline. 1 The
proposed extension would not affect any other dates set forth in the Court’s March 13, 2023
Amended Civil Case Management Plan and Scheduling Order (Dkt. 74 (“Amended Scheduling
Order”)), including, in particular, the pre-motion conference scheduled for August 9, 2023.

               Pursuant to the Amended Scheduling Order (id. at 3), Plaintiff served five expert
reports on May 22, 2023 and CGMI served three expert reports on June 21, 2023. The parties
have been working cooperatively to schedule expert depositions; however, it has proven difficult
to schedule them all to take place by the July 21, 2023 deadline in the Amended Scheduling
Order. That is a function of both the total number of expert reports served (eight) and the travel
required by counsel and experts for both parties (depositions of Plaintiff’s experts will be taken
in New York, and depositions of CGMI’s experts will be taken in Boston). Allowing for expert
depositions to continue for two additional weeks beyond July 21 has allowed the parties to agree
on proposed dates for all expert depositions, subject to the Court’s approval.

               In light of the parties’ diligence in litigating this action and the good cause for the
short extension sought, as well as the absence of any prejudice to any other deadlines in the
Amended Scheduling Order, the parties respectfully request that the Court extend the expert
discovery deadline to August 4, 2023.




    1  CGMI’s prior request, to extend the time to complete fact depositions, was consented to by
Plaintiff and granted by the Court. (See Dkt. 72.)
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              Thank you for your consideration.

                                           Respectfully submitted,

                                           /s/ Michael A. Paskin

                                           Michael A. Paskin



The Honorable Lorna G. Schofield
   U.S. District Court for the Southern District of New York
      Thurgood Marshall United States Courthouse
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VIA ECF

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